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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    )
UNITED STATES OF AMERICA            )
                                    )
      v.                            )                Criminal No. 21-0350 (PLF)
                                    )
ANTIONNE BRODNAX,                   )
                                    )
            Defendant.              )
____________________________________)


                                             ORDER

               On May 17, 2021, Magistrate Judge Zia M. Faruqui ordered Mr. Brodnax released

on personal recognizance, subject to conditions. Order Setting Conditions of Release (“Order”)

[Dkt. No. 11]. Before the Court is Mr. Brodnax’s Unopposed Motion [Dkt. No. 23] to Modify

Conditions of Release. Mr. Brodnax requests that this Court allow him to move from Richmond,

Virginia to Dallas, Georgia and to modify the travel conditions to require him to notify pretrial

services in advance of any travel outside of Georgia. The government does not object to Mr.

Brodnax’s request. The D.C. Pretrial Services Agency filed a status report requesting that the

conditions of release also be modified in a number of other ways. See Pretrial Compliance

Report [Dkt. No. 24]. Mr. Brodnax opposes the request, see Response by Antionne De Shaun

Brodnax [Dkt. No. 25], and the United States agrees that no further conditions need be imposed

on Mr. Brodnax, see Response by United States [Dkt. No. 26].

               The Court concludes that courtesy supervision in the Northern District of Georgia

is appropriate to ensure Mr. Brodnax’s compliance with his conditions of release, and that a

condition precluding Mr. Brodnax from using or unlawfully possessing a narcotic drug or other

controlled substance is also reasonable. Accordingly, it is hereby
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                ORDERED that Mr. Brodnax’s Unopposed Motion [Dkt. No. 23] to Modify

Conditions of Release is GRANTED; it is

                FURTHER ORDERED that Mr. Brodnax shall be permitted to relocate to and

reside in Dallas, Georgia; it is

                FURTHER ORDERED that subparts (7)(a), (7)(f), and (7)(s) of the Release Order

dated March 17, 2021 are VACATED; it is

                FURTHER ORDERED that subpart (7)(a) of the Order is amended to read as

follows: “submit to supervision by and report for supervision to the U.S. Probation Office for

the Northern District of Georgia in person at Georgia Northern Probation Office – Atlanta, GA,

Richard B. Russell Federal Building and United States Courthouse, 75 Ted Turner Drive,

Atlanta, GA 30303, within 72 hours of arrival in Georgia, and thereafter report by telephone as

directed by the Probation Office, telephone number (404) 215-1950.”; it is

                FURTHER ORDERED that subpart (7)(f) of the Order is amended to read as

follows: “abide by the following restrictions on personal association, residence, or travel:

Notify Probation Office in advance of all travel outside of the Northern District of Georgia.

Court to approve all other travel outside of the continental United States.”; it is

                FURTHER ORDERED that subpart (7)(s) of the Order is amended to read as

follows: “Stay out of D.C. except for Court or PSA business or meetings with attorney. Verify

new address with the Probation Office for Northern District of Georgia. Do not possess unlawful

firearms.”; it is

                FURTHER ORDERED that Mr. Brodnax is subject to subpart (7)(m) and

therefore shall “not use or unlawfully possess a narcotic drug or other controlled substances

defined in 21 U.S.C. § 802, unless prescribed by a licensed medical practitioner.”; and it is




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               FURTHER ORDERED that all other conditions set on March 17, 2021 shall

remain in full force and effect.

               SO ORDERED.


                                                       ________________________
                                                       PAUL L. FRIEDMAN
                                                       United States District Judge

DATE: July 12, 2021




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